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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL


Short Title: Vitagliano v. County of Westchester                       _____             Docket No.:
                                                                                                       23-30   ________

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

Name: Justin        R. Adin

Firm: Westchester        County Department of Law

Address: 148       Martine Avenue, 6th Floor, White Plains, NY 10601

Telephone:    (914) 995-2893
                        ___________________________             Fax: (914)     995-4581

E-mail:   jra3@westchestergov.com

Appearance for:     County of Westchester
                                                         (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                         )
                                                         (name/firm)

G Substitute counsel (replacing other counsel:                         _______                                        )
                                                         (name/firm)

G Additional counsel (co-counsel with: John Nonna, Shawna MacLeod, Westchester County Dept. of Law
✔                                                                                                                     )
                                                         (name/firm)

G Amicus (in support of:                                                                                              )
                                                         (party/designation)


                                                   CERTIFICATION
I certify that:

✔
G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed

my admission on      12/8/2020                                                                                      OR

G I applied for admission on                                                                                          .


Signature of Counsel: /s/Justin R. Adin

Type or Print Name:     Justin R. Adin
